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January 28, 2020
VIA ECF

Hon. Katherine Polk Failla

United States District Judge

Thurgood Marshall United States Courthouse
40 Foley Square

New York, NY 10007

Re: | Commissions Import Export S.A. (“Petitioner”) v.
Republic of the Congo (‘Republic”), ef ano., 1:19-mc-00195-KPF

Dear Judge Falla:

We represent Petitioner and write to inform the Court of certain facts relevant to the
January 24, 2020 letter to the Court from counsel to Ecree LLC (“Ecree”).

On December 16, 2019 (the same day the parties last appeared before the Court), the
Board of Managers of Trump International Hotel & Tower Condominium (the “Trump Board of
Managers”) commenced a foreclosure proceeding against Ecree in New York State Supreme
Court, New York County, to foreclose on condominium unit 32G (the “Condo”) that is the
subject of the proceedings before Your Honor. (Doc. No. 35, Exh. B.)

The Trump Board of Managers named as defendants Ecree and John Does 1-15, stated to
include all persons “claiming an interest in the Condo,” including “judgment creditors;” but
Petitioner was not named as a defendant though this case is a matter of public record. As there is
apparently no mortgage on the Condo, all proceeds of the foreclosure, above $57,000 in common
charges claimed by the Board of Managers, would go to Ecree absent any other party’s claim.
The Condo has been estimated to be worth $7,000,000 (Doc. No. 1, Exh. 5).

Ecree was served by the Trump Board of Managers in the foreclosure proceeding through
the New York Secretary of State in Albany on January 7, 2020.' Yet on January 3, 2020, four
days before Ecree was served, the Republic submitted a copy of the foreclosure complaint in
support of the Republic’s motion to vacate its default. (Doc. No. 35, Exh. B.)

 

' New York County Index No. 162142-2019, Doc. No. 3 (available on NY SCROLL). This is, of course,
the same valid method of service used by Petitioner in this case, notwithstanding the off-point suggestions
by the Republic’s counsel at the December 16 hearing.

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The undersigned as counsel for Petitioner filed a Notice of Appearance (attached) in the
foreclosure proceeding on January 23, 2020, as “a party having an interest in the subject
premises,” as referred to in the foreclosure complaint. On January 24, the very next day, counsel
for Ecree submitted his letter to the Court, marking Ecree’s first appearance in this case despite it
having been served through the Secretary of State on May 10, 2019 (Doc. No. 6) and having had
the Clerk enter its default on August 26, 2019 (Doc. No. 11).

Petitioner respectfully submits that the timing of counsel’s appearance for Ecree — one
day after Petitioner evidenced its intent to assert an interest in the foreclosure proceeding (in
which it was not named) — is not coincidental. It is a fair inference that Ecree, the Republic’s
fraudulent transferee, has been monitoring this case all along; chose to default; then hoped that
the foreclosure would allow the Republic (sub nom Ecree) to extract the excess value of the
Condo in cash otherwise claimed by a lawful judgment creditor, effectively depriving Your
Honor, as a practical matter, of the ability to decide this matter. Ecree therefore appeared in this
case only after Petitioner appeared in the foreclosure proceeding.

We ask that the Court consider these facts in connection with Ecree’s counsel’s letter.

Respectfully submitted,

AAR

Charles R. Jacob III

cc: All Counsel via ECF

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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

THE BOARD OF MANAGERS OF TRUMP
INTERNATIONAL HOTEL & TOWER

CONDOMINIUM,
Index No. 162142/2019

Plaintiff,
-against-

ECREE LLC, and “JOHN DOE” No. 1 through “JOHN
DOE” No. 15, the true name of said Defendants being
unknown to plaintiff, the parities intended to be those
persons having or claiming an interest in the mortgaged
premises described in the complaint by virtue of being
tenants, or occupants, or judgment-creditors, or lienors
of any type or nature in all or part of said premises,

Defendants,

 

 

NOTICE OF APPEARANCE
PLEASE TAKE NOTICE that the undersigned, attorneys admitted to practice before this
Court, hereby appear as counsel for Commissions Import Export S.A., a party having an interest
in the subject premises (see Commissions Import Export S.A. v. Republic of the Congo and Ecree
LLC, Case No. 1:19-mc-00195 (KPF), United States District Court for the Southern District of
New York), in the above-captioned proceeding and request that all future notices and papers in
this action be served upon the undersigned at the address below.

Dated: January 23, 2020
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TO:

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By: ( Arle AB 124

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